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                       Exhibit A
   Case 2:22-cv-00188-HYJ-RSK                     ECF No. 30-2, PageID.1221
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                                                                     In light of the continuing COVID-19 pandemic and to
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                                                                     ensure continued access to courts, the Court orders that:
      Only the Westlaw citation is currently available.
              Court of Appeals of Michigan.                          For all deadlines applicable to the commencement of all
                                                                     civil and probate case types, including but not limited to
      Karen CARTER, Plaintiff-Appellant,                             the deadline for the initial filing of a pleading under MCR
                    v.                                               2.110 or a motion raising a defense or an objection to
                                                                     an initial pleading under MCR 2.116, and any statutory
    DTN MANAGEMENT COMPANY, doing
                                                                     prerequisites to the filing of such a pleading or motion, any
   business as DTN MGT, Defendant-Appellee.                          day that falls during the state of emergency declared by the
                                                                     Governor related to COVID-19 is not included for purposes
                         No. 360772                                  of MCR 1.108(1).
                               |
                  January 26, 2023, 9:25 a.m.                        This order is intended to extend all deadlines pertaining
                                                                     to case initiation and the filing of initial responsive
Ingham Circuit Court, LC No. 21-000228-NO                            pleadings in civil and probate matters during the state of
                                                                     emergency declared by the Governor related to COVID-19.
Before: Patel, P.J., and Borrello and Shapiro, JJ.
                                                                     Nothing in this order precludes a court from ordering
Opinion                                                              an expedited response to a complaint or motion in
                                                                     order to hear and resolve an emergency matter requiring
Per Curiam.                                                          immediate attention. We continue to encourage courts to
                                                                     conduct hearings remotely using two-way interactive video
 *1 This appeal concerns the Michigan Supreme Court's                technology or other remote participation tools whenever
administrative orders that, for purposes of determining court        possible.
filing deadlines, excluded days during the COVID-19 state of
emergency from the computation of time under MCR 1.108.              This order in no way prohibits or restricts a litigant from
The trial court granted summary disposition to defendant             commencing a proceeding whenever the litigant chooses.
under MCR 2.116(C)(7) (statute of limitations). Because we           Courts must have a system in place to allow filings without
conclude that the statute of limitations in this case was tolled     face-to-face contact to ensure that routine matters, such
by the administrative orders, we reverse and remand.                 as filing of estates in probate court and appointment of a
                                                                     personal representative in a decedent's estate, may occur
                                                                     without unnecessary delay and be disposed via electronic
                                                                     or other means. [AO 2020-3, 505 Mich lxxxvi (2020)
I. BACKGROUND
                                                                     (underlining in original).]
Plaintiff alleges that on January 10, 2018, she slipped and
fell on an icy sidewalk behind her apartment complex that          AO 2020-3 was amended on May 1, 2020. The only change
is owned and operated by defendant. Plaintiff filed suit           was to add the following language: “This order in no way
on April 13, 2021. The period of limitations for personal-         prohibits or restricts a litigant from commencing a proceeding
injury actions is three years, MCL 600.5805(1), and so,            whenever a litigant chooses, nor does it suspend or toll any
under normal circumstances, plaintiff's complaint would            time period that must elapse before the commencement of an
have been untimely. However, plaintiff maintains that her          action or proceeding.” This made clear that while statutes of
complaint was timely filed by virtue of the Michigan Supreme       limitations would be tolled by the orders, a pre-suit waiting
Court's administrative orders issued in connection with the        period would not.
COVID-19 pandemic.
                                                                    *2 On June 12, 2020, the Supreme Court issued
On March 10, 2020, the Governor declared a state of                Administrative Order No. 2020-18 (AO 2020-18), which
emergency related to COVID-19. On March 23, 2020, the              rescinded AO 2020-3 effective June 20, 2020:
Supreme Court issued Administrative Order No. 2020-3 (AO
                                                                     In Administrative Order No. 2020-3, the Supreme Court
2020-3), which provided:
                                                                     issued an order excluding any days that fall during the


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  State of Emergency declared by the Governor related
  to COVID-19 for purposes of determining the deadline
                                                                    A. INTERPRETATION OF AO 2020-3
  applicable to the commencement of all civil and probate
  case types under MCR 1.108(1). Effective Saturday, June           Plaintiff argues that the trial court erred by ruling that AO
  20, 2020, that administrative order is rescinded, and the
                                                                    2020-3 did not apply to this case. We agree.1
  computation of time for those filings shall resume. For
  time periods that started before Administrative Order No.
                                                                    1        We review de novo a trial court's decision on a motion for
  2020-3 took effect, the filers shall have the same number
                                                                             summary disposition. Dextrom v Wexford Co, 287 Mich
  of days to submit their filings on June 20, 2020, as they had
                                                                             App 406, 416; 789 NW2d 211 (2010). When reviewing
  when the exclusion went into effect on March 23, 2020. For
                                                                             a motion for summary disposition under MCR 2.116(C)
  filings with time periods that did not begin to run because
                                                                             (7), the “contents of the complaint are accepted as true
  of the exclusion period, the filers shall have the full periods            unless contradicted by documentation submitted by the
  for filing beginning on June 20, 2020. [AO 2020-18, 505                    movant.” Maiden v Rozwood, 461 Mich 109, 119; 597
  Mich lxxxviii (2020).]                                                     NW2d 817 (1999). “In the absence of disputed facts,
                                                                             whether a cause of action is barred by the applicable
Returning to this case, defendant moved for summary                          statute of limitations is a question of law, which this
disposition on the basis that AO 2020-3 applied only to cases                Court reviews de novo.” Magee v DaimlerChrysler
whose filing deadlines expired during the state of emergency.                Corp, 472 Mich 108, 111; 693 NW2d 166 (2005). We
Defendant argues that because plaintiff's limitations period                 also review de novo the interpretation of court rules and
would otherwise have expired in January 2021—well after                      administrative orders. See Wenkel v Farm Bureau Gen
June 20, 2020—AO 2020-3 had no effect on her claim.                          Ins Co of Mich, ––– Mich App ––––, ––––; ––– NW2d
                                                                             –––– (2022) (Docket No. 358526); slip op. at 3.
Therefore, the argument ran, her complaint filed in April
2021 was barred by the three-year statute of limitations.           *3 AO 2020-3 stated in pertinent part:
Alternatively, defendant argued that if AO 2020-3 tolled the
running of the statute of limitations as to all civil cases, then       For all deadlines applicable to the commencement of all
the Supreme Court lacked authority to issue such an order               civil and probate case types, including but not limited to
because that would amount to a modification of the statutes             the deadline for the initial filing of a pleading under MCR
of limitations, which are considered substantive law.                   2.110 or a motion raising a defense or an objection to
                                                                        an initial pleading under MCR 2.116, and any statutory
In response, plaintiff argued that AO 2020-3 applied to                 prerequisites to the filing of such a pleading or motion, any
“all deadlines applicable to the commencement of all civil              day that falls during the state of emergency declared by the
and probate case types” and that “any day” that fell within             Governor related to COVID-19 is not included for purposes
the subject period would not be counted for purposes of                 of MCR 1.108(1).
computing time under MCR 1.108. AO 2020-3 (emphasis
added). Plaintiff further argued that the Supreme Court had         In sum, AO 2020-3 provided that the days during the
authority to issue AO 2020-3 because the computation of time        emergency shall not be counted when computing the relevant
under MCR 1.108 is a procedural matter.                             time period for purposes of MCR 1.108(1), which governs the
                                                                    computation of deadline dates. That rule provides:
After hearing oral argument on the motion, the trial court
                                                                        In computing a period of time prescribed or allowed by
granted summary disposition in favor of defendant. The
                                                                        these rules, by court order, or by statute, the following rules
court agreed with defendant that AO 2020-3 applied only to
                                                                        apply:
limitations periods that would have expired during the state
of emergency and therefore had no effect on plaintiff's cause           (1) The day of the act, event, or default after which the
of action.                                                              designated period of time begins to run is not included. The
                                                                        last day of the period is included, unless it is a Saturday,
                                                                        Sunday, legal holiday, or day on which the court is closed
I. DISCUSSION                                                           pursuant to court order; in that event the period runs until
                                                                        the end of the next day that is not a Saturday, Sunday, legal




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  holiday, or day on which the court is closed pursuant to          timely filed. On March 10, 2020, plaintiff had 10 months left
  court order. [MCR 1.108(1).]                                      to file her complaint.2 Accordingly, she had that same amount
                                                                    of time to file beginning on June 20, 2020, and the April 13,
MCR 1.108(1) clearly applies to computations involving
                                                                    2021 complaint was filed within that time period.3
statutes of limitations, i.e., “a period of time prescribed or
allowed by ... statute[.]” Accordingly, under AO 2020-3 and
                                                                    2      Although AO 2020-18 stated that “the filers shall have
MCR 1.108(1), any day falling during the state of emergency
does not count toward determining the last day of a statutory              the same number of days to submit their filings on June
                                                                           20, 2020, as they had when the exclusion went into effect
limitations period. Contrary to the trial court's conclusion, the
                                                                           on March 23, 2020,” the staff comment to that order
Supreme Court did not exclude only deadlines that fell during
                                                                           explains that March 10, 2020, is the applicable exclusion
the state of emergency. Rather, it more broadly excluded
                                                                           date:
any day within the state of emergency “for purposes of                        Note that although the order regarding computation of
determining the deadline applicable to the commencement of                    days entered on March 23, 2020, it excluded any day
all civil and probate case types under MCR 1.108(1).” AO                      that fell during the State of Emergency declared by
2020-18 (emphasis added).                                                     the Governor related to COVID-19, which order was
                                                                              issued on March 10, 2020. Thus, the practical effect
This conclusion is further supported by AO 2020-18's                          of Administrative Order No. 2020-3 was to enable
explanation of how to start counting days following AO                        filers to exclude days beginning March 10, 2020. [AO
2020-3's rescission:                                                          2020-18 (staff comment).]
                                                                    3      Our analysis is not in conflict with this Court's recent
  Effective Saturday, June 20, 2020, [AO 2020-3] is
                                                                           decision in Armijo v Bronson Methodist Hosp, ––– Mich
  rescinded, and the computation of time for those filings
                                                                           App ––––; ––– NW2d –––– (2023) (Docket No. 358729).
  shall resume. For time periods that started before [AO
                                                                           Armijo was a medical-malpractice case in which the
  2020-3] took effect, the filers shall have the same number
                                                                           plaintiff argued that the administrative orders tolled the
  of days to submit their filings on June 20, 2020, as they had            182-day notice waiting period, MCL 600.2912b, which
  when the exclusion went into effect on March 23, 2020.                   in that case entirely encapsulated the state of emergency
  For time periods that did not begin to run because of the                period. This Court concluded that the AOs did not toll
  exclusion, the filers shall have the full periods for filing             the notice of intent waiting period, which was dispositive
  beginning on June 20, 2020.                                              of that appeal. See id. at ––––; slip op. at 6-7. In contrast,
                                                                           this case does not concern the notice waiting period for
AO 2020-18 establishes two categories of parties—one                       medical malpractice cases and therefore Armijo is not
whose filings periods began to run before AO 2020-3 took                   controlling. To the extent Armijo indicated that the AOs
effect on March 23, 2020, and one whose filing periods                     applied only to limitations periods that expired during the
                                                                           state of emergency, those statements are nonbinding dicta
began to run on or after March 23, 2020. Plaintiff falls in
                                                                           because they were not necessary to the resolution of that
the first category, and she therefore has “the same number
                                                                           appeal. Griswold Props, LLC v Lexington Ins Co, 276
of days to submit [her] filings on June 20, 2020, as [she]
                                                                           Mich App 551, 557-558; 741 NW2d 549 (2007) (“It is
had when the exclusion went into effect on March 23,                       a well-settled rule that statements concerning a principle
2020.” There is no language in AO 2020-18 limiting the                     of law not essential to determination of the case are obiter
first category to those whose filing deadline fell within the              dictum and lack the force of an adjudication,” and are
state of emergency. The second category identified by the                  “not binding on this Court.”). Indeed, because it was not
Supreme Court also undermines defendant's interpretation                   necessary to the decision in that case, the Armijo panel
of the administrative orders. That is, the second category                 did not discuss the language in AO 2020-18 establishing
concerns those whose time period did not begin to run because              that the statutory limitations periods for all cases was
of AO 2020-3 and therefore could not have expired during the               tolled from March 10, 2020 until June 20, 2020.
state of emergency. This demonstrates that all litigants whose
limitations periods had not expired prior to the adoption of
                                                                    B. SUPREME COURT'S AUTHORITY TO ISSUE AO
AO 2020-3 were entitled to the exclusion of days under AO
                                                                    2020-3
2020-3. Thus, the trial court erred by holding that AO 2020-3
did not apply to this case. And applying the administrative
orders in this case, we conclude that plaintiff's complaint was


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                                                                      the normal application of MCR 1.108(1) may result in more
 *4 As an alternative ground for affirmance, defendant argues
                                                                      time than permitted by the statute of limitations. That is, if the
that AO 2020-3 is ineffective because the Supreme Court has
                                                                      last day of the limitations period is a day on which the court
no authority to modify or toll the statute of limitations.
                                                                      is closed, the period runs until the next day that the court is
                                                                      open. See MCR 1.108(1). The law of counting time favors
The Supreme Court has constitutional authority to “establish,
                                                                      this approach, i.e., granting more rather than less than time to
modify, amend, and simplify the practice and procedure in all
                                                                      file than permitted by statute, to ensure that the parties receive
courts of this state.” Const. 1963, art. 6, § 5. “This is generally
                                                                      the entire amount of time for filing that they are entitled to.
accomplished by the issuance of administrative orders and
                                                                      See Haksluoto v Mt Clemens Regional Med Ctr, 500 Mich
the promulgation of court rules.” People v Taylor, ––– Mich
                                                                      304, 314-320; 901 NW2d 577 (2017). That is precisely what
––––, ––––; ––– NW2d –––– (2022) (Docket No. 154994);
                                                                      the Supreme Court was trying to accomplish with AO 2020-3,
slip op. at 11 n 11. The Supreme is not authorized, however,
                                                                      which was issued when there were court closings because of
to issue orders or enact court rules “that establish, abrogate, or
                                                                      the COVID-19 pandemic.
modify the substantive law.” McDougall v Schanz, 461 Mich
15, 27; 597 NW2d 148 (1999). “[M]atters of substantive law
                                                                      Further, the Court was also clearly concerned with limiting
are left to the Legislature.” People v Cornell, 466 Mich 335,
                                                                      in-person interactions and protecting court staff and the
353; 646 NW2d 127 (2002).
                                                                      public from COVID-19. See AO 2020-3 (“Courts must
                                                                      have a system in place to allow filings without face-to-face
Defendant argues that the Supreme Court did not have
                                                                      contact ....”). It is therefore inaccurate to frame this issue as
authority to toll the limitations periods provided by MCL
                                                                      a dichotomous choice between substantive and procedural
600.5805, which is an enactment of substantive law. See
                                                                      law. In addition to its authority over procedural rules, the
Gladych v New Family Homes, Inc, 468 Mich 594, 600; 664
                                                                      Supreme Court has superintending control over all state
NW2d 705 (2003) (“Statutes regarding periods of limitations
                                                                      courts. See Const. 1963, art. 6, § 4; Lapeer County Clerk v
are substantive in nature.”). Plaintiff, on the other hand,
                                                                      Lapeer Circuit Judges, 465 Mich 559, 569; 640 NW2d 567
maintains that the Supreme Court merely made a temporary
                                                                      (2002). Thus, the Supreme Court had authority to manage
procedural change to a court rule, i.e., MCR 1.108, rather than
                                                                      the operations of Michigan courts amidst a global pandemic.
a substantive change to the statutes of limitations.
                                                                      And by excluding days from the computation of time under
                                                                      MCR 1.108, AO 2020-3 undoubtedly lessened the amount of
As an initial matter, it is questionable whether this Court has
                                                                      in-person interactions at courts during the early stages of the
the power to declare unconstitutional administrative orders
                                                                      pandemic. For these reasons, we conclude that the Supreme
of the Supreme Court. “It is elementary that this Court has
                                                                      Court had constitutional authority to issue AO 2020-3.
no power to reverse the Michigan Supreme Court.” New
Democratic Coalition v Austin, 41 Mich App 343, 348; 200
                                                                      *5 Reverse and remanded for further proceedings consistent
NW2d 749 (1972). However, we need not decide whether
                                                                      with this opinion. We do not retain jurisdiction.
we have such power because we conclude that the Supreme
Court's administrative orders were constitutional.
                                                                      All Citations
By its own terms, AO 2020-3 was modifying the computation
of days under MCR 1.108 for purposes of determining filing            --- N.W.2d ----, 2023 WL 439760
deadlines, which is plainly a procedural matter. Further, even

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